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 5
     Attorney for Plaintiff
 6
                           IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE NORTHERN MARIANA ISLANDS
 8   MOHAMMAD FEROJ AHMED,                         )          CASE NO. CV 09-0026
 9                                                 )
                                   Plaintiff,      )
10                   vs.                           )             STIPULATION RE: BRIEFING
                                                   )            SCHEDULE AND HEARING ON
11   GREGORY BAKA, Acting Attorney General and)                     MOTION TO DISMISS
     MELVIN GREY, Director of Immigration, in their)
12   official and individual capacities,           )
                                                   )          Date: 9:00 a.m.
13                                 Defendants.     )          Time: Thursday, October 22, 2009
                                                   )          Judge: Hon. Alex R. Munson
14
15          A hearing on Defendants’ Motion to Dismiss is currently scheduled for Thursday,
16   October 22, 2009 at 9:00 a.m. and additional briefing is due by both parties. However, the
17   parties are concluding settlement discussions that both parties believe will likely lead to a full
18   disposition of this matter.
19          Accordingly, in order to allow the parties additional time to complete, if possible, a full
20   and final resolution of this matter without the spending unnecessary time briefing and arguing
21   the pending Motion to Dismiss, the parties respectfully request that the Court modify the
22   briefing and hearing schedule on the Motion as follows:
23                  1. Plaintiff’s Opposition to Defendants’ Motion to Dismiss shall be filed on or
24
     before Thursday, November 5, 2009;
25
                    2. Defendants’ Reply shall be filed on or before Thursday, November 12, 2009;
26
                    3. Defendants’ Motion to Dismiss shall be heard on Tuesday, November 17,
27
     2009 at 9:00 a.m.
28
     Case 1:09-cv-00026 Document 11 Filed 10/07/09 Page 2 of 2



 1
 2       SO STIPULATED.
 3
 4       DATED: October 7, 2009              /s/ Mark B. Hanson
                                             __________________________________
 5                                           MARK B. HANSON
                                             Attorney for Plaintiff
 6
 7
 8       DATED: October 7, 2009              /s/ Braddock J. Huesman
 9                                           __________________________________
                                             BRADDOCK J. HUESMAN
10                                           Attorney for Defendants

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